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-VS-
ENHANCED RECOVERY COMPANY, LLC,

Defendant.
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COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff, WANDA MORGAN, by and through the undersigned counsel,
and sues Defendant, ENHANCED RECOVERY COMPANY, LLC, and in support thereof
respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §227 et seq.
(“TCPA”), the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et seq. (“FCCPA”)
and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 el. seq. (“FDCPA”).

INTRODUCTION

1. The 'I`CPA was enacted to prevent companies like Defendant from invading American
citizen’s privacy and prevent abusive “robo-calls.”
2. “The TCPA is designed to protect individual consumers from receiving intrusive and
unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct. 740, 745, 181
L.Ed. 2d 881 (2012).
3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of modern
civilization, they wake us up in the morning; they interrupt our dinner at night; they force the
sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’ 137
Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone subscribers

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another option: telling the auto-dialers to simply stop calling.” Osorio v. State Farm Bank,
F.S.B., 746 F. 3d 1242, 1256 (l llh Cir. 2014).

4. According to the Federal Communications Commission (FCC), “Unwanted calls and
texts are the number one complaint to the FCC. There are thousands of complaints to the FCC
every month on both telemarketing and robocalls. The FCC received more than 215,000 TCPA
complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-protection-proposal

JURISDICTION AND VENUE

2. 'I'his is an action for damages exceeding Seventy-Five Thousand Dollars ($75,000.00)
exclusive of attorney fees and costs.

3. Jurisdiction and venue for purposes of this action are appropriate and conferred by 28
U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

4. Subject matter jurisdiction, federal question jurisdiction, for purposes of this action is
appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts shall have
original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the
United States; and this action involves violations of 47 U.S.C. § 227(b)(l)(A)(iii). See Mims v.
Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. S!ate Farm Bank, F.S.B., 746 F.3d
1242, 1249 (11th Cir. 2014)

5. The alleged violations described herein occurred in Suwannee County, Florida.
Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the
judicial district in which a substantial part of the events or omissions giving rise to this action
occurred.

FACTUAL ALLEGATIONS

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6. Plaintiff is a natural person, and citizen of the State of Florida, residing in Suwannee
County, Florida.

7. Plaintiff is a “consumer” as defined in Florida Statute 559.55(8) and 15 U.S.C. §
l692(a)(3).

8. Plaintiff is an “alleged debtor.”

9. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d 1265
(11111 Cir. 2014) and Osorio v. State Farm Bank, FZS.B., 746 F. 3d 1242 (11"‘ Cir. 2014).

10. Defendant is a corporation with its principal place of business located at 8014 Bayberry
Road, Jacksonville, Florida 32256 and which conducts business in the State of Florida through
its registered agent, C T Corporation System located at 1200 South Pine Island Road, Plantation,
Florida 33324.

l 1. Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15 U.S.C. §
l692(a)(6).

12. The debt that is the subject matter of this complaint is a “consumer debt” as defined by
Florida Statute §559.55(6) and U.S.C. § 1692(a)(5).

13. Defendant called Plaintiff on Plaintiff’s cellular telephone hundreds of times in an
attempt to collect an alleged debt.

14. Defendant attempted to collect an alleged debt from the Plaintiff by this campaign of
telephone calls.

15. Plaintiff is the subscriber, regular user and carrier of the cellular telephone number (386)
***-6195 and was the called party and recipient of Defendant’s calls

16. Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified the calls were

being initiated from, but not limited to, the following telephone number: (800) 875-5035.

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17. Upon information and belief, some or all of the calls the Defendant made to Plaintiff‘s
cellular telephone number were made using an “automatic telephone dialing system” which has
the capacity to store or produce telephone numbers to be called, using a random or sequential
number generator (including but not limited to a predictive dialer) or an artificial or prerecorded
voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinalier “auto-dialer
calls”). Plaintiff will testify that she knew it was an auto-dialer because of the vast number of
calls she received and because she heard a pause when she answered her telephone before a
voice came on the line and she received prerecorded messages from Defendant.

18. On several occasions over the last four (4) years, Plaintiff instructed Defendant’s
agent(s)/representative(s) to stop calling her cellular telephone.

19. In or about April 2017, on several occasions, Plaintiff answered a call from Defendant to
her aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of
Defendant and informed the agent/representative that the calls to her cellular telephone were
harassing and demanded that they cease calling her cellular telephone immediately.

20. Despite clearly and unequivocally revoking any consent Defendant may have believe
they had to call Plaintiff on her cellular telephone, Defendant continued to place automated calls
to Plaintiff`.

21. In or about October 2017 Plaintiff again answered an automated call from Defendant to
her cellular telephone, She explained to the agent/representative of Defendant on the line that she
has on numerous occasions asked for the calls from Defendant to her cellular telephone cease

and again demanded that the calls to her cellular telephone stop.

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22. Plaintiff’s numerous conversations with Defendant’s agent(s)/representative(s) over the
telephone wherein she demanded a cessation of calls were in vain as Defendant continued to
bombard her with automated calls unabated.

23. Defendant intentionally harassed and abused Plaintiff on numerous occasions by calling
several times during one day, and on back to back days, with such frequency as can reasonably
be expected to harass.

24. Due to the tremendous volume of calls Plaintiff received over a lengthy period of time,
she was not able to properly catalogue each and every call, however attached hereto as Exhibit
A is a small sampling of some of the automated calls Plaintiff received to her cellular telephone
from Defendant.

25. Defendant has a corporate policy to use an automatic telephone dialing system or a pre-
recorded or artificial voice to individuals just as they did to Plaintiff’s cellular telephone in this
case.

26. Defendant has a corporate policy to use an automatic telephone dialing system or a pre-
recorded or artificial voice, just as they did to Plaintiff"s cellular telephone in this case, with no
way for the consumer, or Defendant to remove the number.

27. Defendant’s corporate policy is structured as to continue to call individuals like Plaintiff
despite these individuals explaining to Defendant they wish for the calls to stop.

28. Defendant has numerous other federal lawsuits pending against them alleging similar
violations as stated in this Complaint.

29. Defendant has numerous complaints against them across the country asserting that their

automatic telephone dialing system continues to call despite being requested to stop.

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30. Defendant has had numerous complaints from consumers against them across the country
asking to not be called, however Defendant continues to call the consumers.

31. Defendant’s corporate policy provided no means for Plaintiff to have her number
removed from the call list.

32. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge that the called parties do not wish to be called.

33. None of Defendant’s telephone calls placed to Plaintiff were for “emergency purposes”
as specified in 47 U.S.C. §227(b)(1)(A).

34. Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff`.

35. From each and every call placed without express consent by Defendant to Plaintiffs
cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon her
right of seclusion.

36. From each and every call without express consent placed by Defendant to Plaintiff’s
cellular telephone, Plaintiff suffered the injury of the occupation of her cellular telephone line
and cellular telephone by unwelcome calls, making the telephone unavailable for legitimate
callers or outgoing calls while the telephone was ringing from Defendant’s call.

37. From each and every call placed without express consent by Defendant to Plaintiff`s
cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of her time. For calls
she answered, the time she spent on the call was unnecessary as she had repeatedly asked for the
calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the telephone and
deal with missed call notifications and call logs that reflected the unwanted calls, This also
impaired the usefulness of these features of Plaintiff’s cellular telephone, which are designed to

inform the user of important missed communications

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38. Each and every call placed without express consent by Defendant to Plaintiff’s cellular
telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls that were
answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for unanswered
calls, Plaintiff had to waste time to unlock the telephone and deal with missed call notifications
and call logs that reflected the unwanted calls, This also impaired the usefulness of these features
of Plaintiff’s cellular telephone, which are designed to inform the user of important missed
communications

39. Each and every ca11 placed without express consent by Defendant to Plaintiff’s cellular
telephone resulted in the injury of unnecessary expenditure of Plaintiffs cellular telephone’s
battery power.

40. Each and every call placed without express consent by Defendant to Plaintiff’s cellular
telephone where a voice message was left which occupied space in Plaintiff’s telephone or
network.

41. Each and every call placed without express consent by Defendant to Plaintiff’s cellular
telephone resulted in the injury of a trespass to Plaintiffs chattel, namely her cellular telephone
and her cellular telephone services.

42. As a result of the calls described above, Plaintiff suffered an invasion of privacy. Plaintiff
was also affect in a personal and individualized way by stress, anxiety, and aggravation.

COUNT I
(Violation of the TCPA)

43. Plaintiff fully incorporates and realleges paragraphs one (1) through forty two (42) as if

fully set forth herein.

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44. Defendant willfully violated the TCPA with respect to Plaintiff`, especially for each of the
auto-dialer calls made to Plaintiffs cellular telephone after Plaintiff notified Defendant that she
wished for the calls to stop.

45. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, treble
damages, enjoinder from further violations of these parts and any other such relief the court may
deem just and proper.

COUNT ll
(Violation of the FCCPA)

46. Plaintiff fully incorporates and realleges paragraphs one (1) through forty two (42) as if
fully set forth herein.

47. At all times relevant to this action Defendant is subject to and must abide by the laws of
the State of Florida, including Florida Statute § 559.72.

48. Defendant has violated Florida Statute §559.72(7) by willfully communicating with the
debtor or any member of her or his family with such frequency as can reasonably be expected to
harass the debtor or her or his family.

49. Defendant has violated Florida Statute §559.72(7) by willfully engaging in other conduct
which can reasonably be expected to abuse or harass the debtor or any member of her or his

family.

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50. Defendant’s actions have directly and proximately resulted in Plaintist prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, costs,
interest, attorney fees, enjoinder from further violations of these parts and any other such relief
the court may deem just and proper.

COUNT III
(Violation of the FDCPA)

51. Plaintiff fully incorporates and realleges paragraphs one (l) through forty two (42) one
(l) through forty two (42) as if fully set forth herein.
52. At all times relevant to this action Defendant is subject to and must abide by 15 U.S.C. §
1692 et seq.
53. Defendant has violated 15 U.S.C. § 1692(d) by willfully engaging in conduct the natural
consequence of which is to harass, oppress, or abuse any person in connection with the collection
of a debt.
54. Defendant has violated 15 U.S.C. § 1692(d)(5) by causing a telephone to ring or
engaging any person in telephone conversation repeatedly or continuously with intent to annoy,
abuse, or harass any person at the called number.
55. Defendant has violated 15 U.S.C. § 1692(f) by using unfair and unconscionable means to
collect or attempt to collect any debt.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, costs,
interest, attorney fees, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.

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Respectfully submitted,

/s/ Amy M. Ferrera

 

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